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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
EMR/MEF/PP                                            610 Federal Plaza
F. #2023R00737                                        Central Islip, New York 11722



                                                      December 20, 2024

By ECF

The Honorable Nusrat J. Choudhury
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

               Re:     United States v. Michael S. Jeffries
                       Criminal Docket No. 24-423 (NJC)

Dear Judge Choudhury:

                The government and counsel for the defendant Michael Jeffries respectfully
submit this joint letter in accordance with the Court’s December 10, 2024 Sealed Order and
related instructions at the status conference on that same date. Based on the parties’ discussions
and the fact that the parties intend to call additional expert and non-expert witnesses, the parties
estimate that the hearing will last approximately two days. The parties have conferred with each
other and jointly propose June 16 and June 17, 2025 for a competency hearing, which dates the
parties understand from the Court’s deputy are convenient for the Court. The parties will update
the Court if the estimated length of the hearing changes.

                 Further, the parties jointly propose that, pursuant to Fed. R. Crim. P. 16(a)(1)(G)
and (b)(1)(C), for any and all witnesses the parties intend to qualify as experts during the
competency hearing, they will provide the prior statements and reports of those witnesses (other
than those previously disclosed in accordance with the Court’s scheduling order), including raw
data,1 at least 10 days prior to the scheduled hearing. On that same date, pursuant to Fed. R.
Crim. P. 26.2 and Title 18, United States Code, Section 3500, the parties will also provide
each other with all prior statements of any non-expert witnesses they intend to call at trial.

                Finally, the parties respectfully request that they be required to file any briefs
regarding the Court’s competency determination within 30 days of the completion of the hearing,
and not prior to the hearing, so that the briefs accurately and completely reflect the evidence


       1
               Consistent with standard medical practice, raw data will only be exchanged
directly between experts.
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before the Court, including the testimony of expert and non-expert witnesses, as well as their
cross-examination.

               The parties thank the Court for its consideration of this proposed schedule.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:      /s/
                                                     Erin Reid
                                                     Megan E. Farrell
                                                     Philip Pilmar
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

cc:    Clerk of the Court (NJC) (by ECF)
       Counsel of Record (by ECF)




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